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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIJ�
                             ROME DIVISION


           FELIX MORENO-GARCIA,

           v.                                CRIMINAL ACTION FILE
                                             NO.: 4:14-CR-28-01-HLM­
                                                 WEJ


                                             CIVIL ACTION FILE NO.:
                                             4: 15-CV-0175-HLM-WEJ

           UNITED STATES OF AMERICA.


                                          ORDER

                This case is before the Court on Petitioner's Motiion to

           Vacate, Set Aside, or Correct Sentence, which Petitioner


           filed under 28 U.S.C.A. § 2255 ("§ 2255 Motion") [42]1, and

           on the Final Report and Recommendation of United States

           Magistrate Judge Walter E. Johnson [62].




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           I.   Standard        of     Review       for     a     Report       and
                Recommendation


                28 U.S.C. § 636(b)(1) requires that in reviewing a


           magistrate judge's report and recommendation, the district


           court "shall make a de novo determination of those portions


           of   the    report    or    specified     proposed       findings    or


           recommendations to which objection is made." 28 U.S.C.


           § 636(b)(1). The Court therefore must conduct a de novo


           review if a party files "a proper, specific objection" to a


           factual finding contained in the report and recommendation.


           Macort v. Prem, Inc., 208 F. App'x 781, 784 (11th Cir.


           2006); Jeffrey S. by Ernest S. v. State Bd. of Educ., 896


           F.2d 507, 513 (11th Cir. 1990); United States v. Gadd��, 894


           F.2d 1307, 1315 (11th Cir. 1990); Loconte v. Dugger:, 847


           F.2d 745, 750 (11th Cir. 1988).           If no party files a timely



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           objection     to   a   factual    finding     in   the    report    and


           recommendation, the Court reviews that finding for clear


           error. Macort, 208 F. App'x at 784. Legal conclusions, of

           course, are subject to de nova review even if no party


           specifically objects.      United States v. Keel, 164 F. )�pp'x


           958, 961 (11th Cir. 2006); United States v. Warren:, 687

           F.2d 347, 347 (11th Cir. 1982).


           II.   Bae kg round


                 On September 14, 2015, the Clerk received Petitioner's


           § 2255 Motion.         (Docket Entry No. 42.)         In that § 2255


           Motion, Petitioner complained that he directed his counsel


           to file a notice of appeal on his behalf, but that counsel


           failed to do so. (See generally id.) On February 19, 2016,


           Judge Johnson held an evidentiary hearing on the§ 2255


           Motion. (Docket Entry Nos. 53-54.)


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                On August 29, 2016, Judge Johnson issued his Final


           Report and Recommendation.                 (Docket Entry No.        53.)

           Judge     Johnson      recommended             that   the   Court   deny


           Petitioner's § 2255 Motion.        (kl)

                Petitioner has not filed Objections to the Final R1eport


           and Recommendation.           (See generally Docket.) The time


           period in which Petitioner could file Objections has expired,


           and the Court concludes that the matter is rip1e for


           resolution.1




                10n September 12, 2016, the Court entered an Order directing
           the Clerk to mail Petitioner another copy of the Final Report and
           Recommendation. (Order of Sept. 12, 2016 (Docket Entry No. 66).)
           The Court advised Petitioner that Judge Johnson issued the� Final
           Report and Recommendation, which recommended that the Court
           deny the§ 2255 Motion, on August 29, 2016, and that Petitioner's
           Objections were due within fourteen days after service of the Final
           Report and Recommendation.              (kl)     The Clerk mailed the
           September 12, 2016, Order and another copy of the Final Report
           and Recommendation to Petitioner as directed.               (Unnum1bered
           Docket Entry Dated Sept. 12, 2016.)

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           Ill.   Discussion


                  The    Court   has    reviewed     the    Final   Report     and


           Recommendation and the record in this case, including the


           transcript from the evidentiary hearing.              Based on that


           review,      the   Court cannot find that Judge Johnson's


           credibility determinations and findings are erroneous. (Final


           Report & Recommendation (Docket Entry No. 62) at 3.)


           Specifically, the Court agrees with Judge Johnson's finding


           that   Petitioner did not instruct his attorney,              Vionette


           Johnson, explicitly or otherwise to file an appeal, but,


           instead, that Petitioner and Ms. Johnson consulted witlh one


           another and Petitioner knowingly and voluntarily electe�d not


           to pursue an appeal. (ldJ Under those circumstances, Ms.


           Johnson did not provide ineffective assistance of counsel by


           failing to file a notice of appeal on Petitioner's behalf, and


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           Petitioner is not entitled to relief under § 2255.                  (kl)

           Further, for the reasons set forth in the Final Report and


           Recommendation, the Court declines to issue a certificate


           of appealability. (kl at 3-4 ) The Court therefore adopts the
                                            .




           Final Report and Recommendation, and denies Petitioner's


           § 2255 Motion.


           IV.   Conclusion


                 ACCORDINGLY, the Court ADOPTS the Final Report


           and Recommendation of United States Magistrate Judge


           Walter E. Johnson [62], and DENIES Petitioner's § 2255


           Motion [42]. The Court DECLINES to issue a certificate of


           appealability.      Finally, the Court DIRECTS the Cle�rk to


           CLOSE the civil case associated with the§ 2255 Motion:




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                 IT IS SO ORDERED, this the            _;fl- day of Septennber,
           2016.



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